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CRIME


'I wouldn't change anything I did:'
Springfield man convicted in breach of
U.S. Capitol
            Steven Spearie
            State Journal-Register
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Thomas B. Adams Jr., faces time in prison but wouldn't change a thing about his role in the
Jan. 6, 2021, breach of the U.S. Capitol.

One of the three Springfield area men accused in that breach or for action on the grounds,
Adams was found guilty and convicted Tuesday at a stipulated bench trial in Washington,
D.C., of obstructing an official proceeding and aiding and abetting others in committing
obstruction of an official proceeding, both felonies.

Adams also was found guilty of remaining in a restricted building or grounds, a
misdemeanor.

Two years after the Jan. 6 riot, here's where the cases of 3 Springfield-area men stand

U.S. District Court Judge Amit Mehta set Adams' sentencing hearing for June 16. He is out
on his own recognizance.

"I wouldn't change anything I did," Adams told The State Journal-Register outside of his
Ridge Avenue home Wednesday. "I didn't do anything. I still to this day, even though I had to
admit guilt (in the stipulation), don't feel like I did what the charge is.

"I did go there. I was in the building. I didn't refuse to leave because no one ever told me
specifically to get out. I was never asked to get out until a group of officers came on the
Senate floor and told everybody in there it was time to go. We all lined up and walked out."

Adams faces a statutory maximum of 20 years in prison on the obstruction charge, plus
financial penalties up to $250,000.

https://www.sj-r.com/story/news/crime/2023/02/01/thomas-b-adams-jr-was-convicted-for-breaching-u-s-capitol-on-jan-6/69863729007/   1/4
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The cases are being prosecuted by the U.S. Attorney’s Office for the District of Columbia.

Adams was represented by federal public defender Diane Shrewsbury.

Under a stipulated trial, which is essentially a paper trial, the two parties come to a
stipulation of the facts. The court determines, based up on that stipulation, whether the facts
agreed to prove the offenses beyond a reasonable doubt.

Close to 1,000 people have been arrested in nearly all 50 states for crimes related to the
breach of the Capitol. Members of Congress were meeting in separate chambers of the
Capitol on Jan. 6 to certify the vote count of the Electoral College from the 2020 presidential
election.

Five people died during or soon after the breach, and more than $2.5 million worth of
damage was done to the Capitol.

Adams admitted he traveled to Washington because "I was laid off, bored, voted for Trump
and (according to) everything I saw, it was supposed to be an Occupy Movement, like Occupy
Wall Street.

"We went to (Trump's talk) just to be there, just to have our sheer numbers heard. My
purpose and my understanding was to let (the government) know that America doesn't agree
with their decision, we don't agree with how the (2020 presidential vote won by President
Joe Biden) went. There's a lot of us still to this day who don't believe there was 100%
legitimacy with the vote.

"I had no criminal intent. I had no malicious intent. I took no weapons except the
pocketknives I carry with me on a daily basis. I had no desire to do anything malicious,
vicious or anything."

After Trump's talk, Adams and Roy Nelson Franklin, 67, who had traveled with him from
Springfield to Washington, headed towards the Capitol "because that's where everybody else
was going. I followed the crowd. When I got there, the perimeter fence was already knocked
down. I didn't knock anything down. I didn't damage anything. I climbed up the back stairs
just like everybody else and stood up there videotaping. I noticed the door was open and said
'Hey guys, the door is open, the crowd's going in. I think it's time for us to go in.'"

Adams was among the participants who entered the Capitol through the parliamentarian
door, which is a fire door. He said that he walked into the Capitol over broken glass and one
of the doors through which he entered had a broken window.
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According to Adams, he made his way to the Senate Chamber walking by then-Vice President
Mike Pence’s ceremonial office. He entered the chamber through a door on the second floor
and walked into the Senate well where he and others walked among the Senators’ desks.
While on the Senate floor, Adams took pictures with his cell phone.

At about 3:11 p.m., law enforcement escorted Adams out of the Capitol via the Senate
Carriage Door. Adams described this to the FBI as being “forced out.”

Most of what Adams saw was "peaceful," except for a couple of episodes. Adams said he
never touched a lectern or papers inside the Capitol, "only a doorknob or two."

Adams insisted Wednesday he had "no clue of the level of escalated violence that was going
on on the other side of the (Capitol) or in that building until I got home and saw it on the
news."

Adams told an FBI special agent that he believed there were some people at the Capitol who
had agendas, while "other innocent people got caught up in it." Adams added he didn’t
believe that everyone there should be in trouble because not everyone did things that were
wrong, and some people felt they were peacefully entering a building.

The identities of Adams and Franklin first came to light when they were interviewed by
Abigail Higgins of the news site Insider shortly after exiting the Capitol.

The Insider article quoted Adams as saying the event was "a really fun time."

"I think everything was great until it went from peaceful to everyone acting like a bunch of
12-year-olds destroying things," Adams told the publication.

Adams later confirmed to an FBI agent that he was the person in a photograph holding a
Trump flag on the Senate floor.

Franklin's case is pending.

Shane Jason Woods of Auburn who pleaded guilty in federal court in early September
to assaulting a law enforcement officer among other charges during the Jan. 6 breach, was
charged with first-degree murder on Nov. 16 for his part in a fatal wrong-way collision on
Interstate 55 near Springfield on Nov. 8.

Adams said he got laid off from his job with a Springfield lawn service company about a
month ago. Returning home Tuesday from Washington, Adams said he got stuck in Indiana
because he ran out of money for gas before a friend sent him funds through a phone app.
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A Lanphier graduate and the father of three children, one of whom is deceased, Adams said
he stipulated to the plea because his attorney told him she couldn't guarantee he wouldn't go
to jail.

"This weighs down to this one three-hour incident in my life," Adams said. "All I've done my
whole life was try to be better than what I was taught and now I'm a piece of (expletive)
because I stand up for what I believe in?"

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